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                               IN UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

                    1:14-cv-3116
  Civil Action No.: ______


  Larry Braden,

           Plaintiff/Movant,

  Medicredit, Inc.,

           Defendant.


                                             COMPLAINT


          For this Complaint, the Plaintiff, Larry Braden, by undersigned counsel, states as follows:

                                           JURISDICTION

          1.      This action arises out of Defendant’s repeated violations of the Fair Debt

  Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) and violations of the Telephone

  Consumer Protection Act, 47 U.S.C. § 227, et. seq. (“TCPA”).

          2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

  Defendant transacts business in this District and a substantial portion of the acts giving rise to

  this action occurred in this District.

                                               PARTIES

          3.      Plaintiff, Larry Braden (“Plaintiff”), is an adult individual residing in Frederick,

  Colorado, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3), and is a “person”

  as defined by 47 U.S.C. § 153(39).

          4.      Defendant Medicredit, Inc. (“Medicredit”), is a Missouri business entity with an

  address of 3620 Interstate 70 Drive SE, Columbia, Missouri 65201-6582, operating as a

  collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6), and is
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  a “person” as defined by 47 U.S.C. § 153(39).

                       ALLEGATIONS APPLICABLE TO ALL COUNTS

     A. The Debt

          5.     The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

  creditor (the “Creditor”).

          6.     The Debt arose from services provided by the Creditor which were primarily for

  family, personal or household purposes and which meets the definition of a “debt” under 15

  U.S.C. § 1692a(5).

          7.     The Debt was purchased, assigned or transferred to Medicredit for collection, or

  Medicredit was employed by the Creditor to collect the Debt.

          8.     The Defendant attempted to collect the Debt and, as such, engaged in

  “communications” as defined in 15 U.S.C. § 1692a(2).

     B. Medicredit Engages in Harassment and Abusive Tactics

          9.     Within the last year, Medicredit contacted Plaintiff in an attempt to collect the

  Debt.

          10.    At all times mentioned herein, Medicredit called Plaintiff’s cellular telephone,

  number 720-xxx-3041, by using an automated telephone dialer system (“ATDS”) and an

  artificial or prerecorded voice.

          11.    When Plaintiff answered the calls, Medicredit used an automated or prerecorded

  voice advising Plaintiff to hold for the next available customer service representative.

          12.    Plaintiff acknowledges the existence of the Debt, but is without adequate means

  with which to repay it.

          13.    Plaintiff spoke with a live representative and advised that he was unemployed and

  experiencing financial difficulties and could in no way afford to pay the Debt at that time.
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  Plaintiff further advised that he would repay the Debt as soon as his financial condition improved

  and requested that all calls to him cease.

         14.     Medicredit continued to place automated calls to Plaintiff despite Plaintiff’s

  requests that Defendant cease calling.


     C. Plaintiff Suffered Actual Damages

         15.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

  Defendant’s unlawful conduct.

         16.     As a direct consequence of the Defendant’s acts, practices and conduct, the

  Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

  fear, frustration and embarrassment.

                                COUNT I
   VIOLATIONS OF THE FEDERAL FAIR DEBTCOLLECTION PRACTICES ACT - 15
                           U.S.C. § 1692, et seq.

         17.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

  as though fully stated herein.

         18.     The Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged

  in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

  connection with the collection of a debt.

         19.     The Defendant’s conduct violated 15 U.S.C. § 1692d(5) in that Defendant caused

  a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

  annoy and harass.

         20.     The Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used

  unfair and unconscionable means to collect a debt.

         21.     The foregoing acts and omissions of the Defendant constitute numerous and


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  multiple violations of the FDCPA, including every one of the above-cited provisions.

         22.     The Plaintiff is entitled to damages as a result of Defendant’s violations.

                                COUNT II
         VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –

                                       47 U.S.C. § 227, et seq.

         23.     The Plaintiff incorporates by reference all of the above paragraphs of this

  Complaint as though fully stated herein.

         24.     Plaintiff never provided his cellular telephone number to Medicredit or the

  Creditor and never provided his consent to be contacted on his cellular telephone.

         25.     Without prior consent, Medicredit contacted the Plaintiff by means of automatic

  telephone calls or prerecorded messages at a cellular telephone in violation of 47 U.S.C. §

  227(b)(1)(A)(iii).

         26.     Defendants continued to place automated calls to Plaintiff’s cellular telephone

  after being directed to cease calling and knowing there was no consent to continue the calls. As

  such, each call placed to Plaintiff was made in knowing and/or willful violation of the TCPA,

  and subject to treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

         27.     The telephone number called by Medicredit was assigned to a cellular telephone

  service for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

         28.     The calls from Medicredit to Plaintiff were not placed for “emergency purposes”

  as defined by 47 U.S.C. § 227(b)(1)(A)(i).

         29.     Medicredit’s telephone system has the capacity to store numbers in a random and

  sequential manner.

         30.     Plaintiff is entitled to an award of $500.00 in statutory damages for each call

  made in negligent violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).


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         31.     As a result of each call made in knowing and/or willful violation of the TCPA,

  Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

  U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).


                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully prays that judgment be awarded in his favor and

  against the Defendant as follows:

                 1.   Against the named Defendant, jointly and severally, awarding Plaintiff actual

                      damages pursuant to 15 U.S.C. § 1692k(a)(1);

                 2. Against each of the named Defendant, awarding Plaintiff statutory damages of

                      $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);

                 3. Against the named Defendant, jointly and severally, awarding Plaintiff recovery

                      of his litigation costs of litigation and reasonable attorney’s fees pursuant to 15

                      U.S.C. § 1692k(a)(3);

                 4. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                 5. Granting Plaintiff such other and further relief as may be just and proper.

                        TRIAL BY JURY DEMANDED ON ALL COUNTS



  Dated: November19,
  Dated: November 20,  2014
                     2014

                                                          Respectfully submitted,

                                                          By /s/ Jenny DeFrancisco

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